Case 1:21-cv-00669-AJT-TCB Document 1 Filed 06/02/21 Page 1 of 20 PageID# 1




                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                             Alexandria Division


 Patti Hidalgo Menders; Scott Mineo;
 and Jane Does #1, #2, and #3, on behalf
 of themselves and their minor children
 R.M.; A.M.; Jane Does #4, #5, and #6;
 and John Does #1 and #2.
                                                 Case No.
                 Plaintiffs,

 v.

 Loudoun County School Board,
                                                             Complaint

                Defendant.


       1.     Writing on whether a school district could force high school students to

show their support for a viewpoint they found objectionable, Justice Jackson penned

some of the most memorable lines in constitutional law: “If there is any fixed star in

our constitutional constellation, it is that no official, high or petty, can prescribe what

shall be orthodox in politics, nationalism, religion, or other matters of opinion or force

citizens to confess by word or act their faith therein.” W. Va. State Bd. of Educ. v.

Barnette, 319 U.S. 624, 642 (1943).

       2.     Yet basic principles like the First Amendment have not stopped the

Loudoun County School Board from prescribing exactly what shall be orthodox for its

students. LCPS is all-in on a curricular framework that expects students to speak,

act, and think in line with a particular ideology. Any dissent from that ideology can

be labeled as “bias” and anonymously reported to the speech police, a group of hand-

                                            1
Case 1:21-cv-00669-AJT-TCB Document 1 Filed 06/02/21 Page 2 of 20 PageID# 2




picked students who share the LCPS administration’s ideology, charged to pass

judgment on those classmates that their peers turn in.

      3.     In the name of “dismantling systemic racism,” LCPS has implemented

explicit racial distinctions between its students. The official LCPS “Action Plan to

Combat Systemic Racism” creates a new position of “Student Equity Ambassador”

(“SEA”), which is limited to certain students on account of their race, and

discriminates against students on the basis of their viewpoint. The Board has also

implemented a viewpoint discriminatory “bias reporting system” that chills students’

speech on matters of important public concern. Each of these policies violates the

Constitution’s guarantees of free speech and equality before the law. Plaintiffs,

parents in LCPS, sue on behalf of their minor children to put a stop to these

constitutional violations. They therefore bring this action pursuant to 42 U.S.C. §

1983 for declaratory and injunctive relief, as well as nominal damages.


                                     PARTIES

      4.     Plaintiff Patti Hidalgo Menders is a resident of Loudoun County,

Virginia, and the parent of a child, RM, who attends Briar Woods High School in the

Loudoun County School District.

      5.     Plaintiff Scott Mineo is a resident of Loudoun County, Virginia, and the

parent of a child, AM, who attends Stone Bridge High School in the Loudoun County

School District.




                                         2
Case 1:21-cv-00669-AJT-TCB Document 1 Filed 06/02/21 Page 3 of 20 PageID# 3




      6.     Plaintiff Jane Doe #1 is a resident of Loudoun County, Virginia, and the

parent of three children (Jane Doe #4 and John Does #1 and #2) who will attend a

LCPS middle school.

      7.     Plaintiff Jane Doe #2 is a resident of Loudoun County, Virginia, and the

parent of a child (Jane Doe #5) who attends a LCPS middle school.

      8.     Plaintiff Jane Doe #3 is a resident of Loudoun County, Virginia, and the

parent of a child (Jane Doe #6) who attends a LCPS middle school.

      9.     Defendant Loudoun County School Board is the official policy-making

body of LCPS, which is headquartered at 21000 Education Court, Ashburn, VA

20148, in the Eastern District of Virginia.


                          JURISDICTION AND VENUE

      10.    This case raises claims under the Fourteenth Amendment of the U.S.

Constitution and 42 U.S.C. § 1983. The Court has subject-matter jurisdiction under

28 U.S.C. § 1331 and 28 U.S.C. § 1343.

      11.    Venue is appropriate under 28 U.S.C. § 1391(b) because a substantial

portion of the events giving rise to the claims occurred in the Eastern District of

Virginia. The Alexandria Division is appropriate because all plaintiffs live in and the

Defendant is headquartered in Loudoun County, which is in that division.




                                          3
Case 1:21-cv-00669-AJT-TCB Document 1 Filed 06/02/21 Page 4 of 20 PageID# 4




                           FACTUAL ALLEGATIONS

      12.    Plaintiffs Patti Hidalgo Menders, Scott Mineo, Jane #1, Jane Doe #2,

and Jane Doe #3, are parents of children who attend LCPS.

      13.    Plaintiff Patti Hidalgo Menders is the parent of a high school student,

RM, who is subject to the Board policies challenged in this case. Her child would not

meet the SEA criteria established by LCPS and would not describe her views as

“social justice” as LCPS uses that term.

      14.    Plaintiff Scott Mineo is the parent of a high school student, AM, who is

subject to the Board policies challenged in this case. His child would not meet the

SEA criteria established by LCPS and would not describe her views as “social justice”

as LCPS uses that term.

      15.    Plaintiff Jane Doe #1 is the parent of three LCPS students who are

subject to the Board policies challenged in this case. Her children would not meet the

SEA criteria established by LCPS and would not describe their views as “social

justice” as LCPS uses that term.

      16.    Plaintiff Jane Doe #2 is the parent of a middle school student who is

subject to the Board policies challenged in this case. Her child would not meet the

SEA criteria established by LCPS and would not describe her views as “social justice”

as LCPS uses that term.




                                           4
Case 1:21-cv-00669-AJT-TCB Document 1 Filed 06/02/21 Page 5 of 20 PageID# 5




      17.    Plaintiff Jane Doe #3 is the parent of a middle school student who is

subject to the Board policies challenged in this case. Her child would not meet the

SEA criteria established by LCPS and would not describe her views as “social justice”

as LCPS uses that term.

      18.    All five families raise their children to be active, engaged citizens in

their community and country. Their families frequently discuss current events and

public affairs in a thoughtful, respectful way. The plaintiff parents encourage and

teach their children to also share their views with their peers. They know that their

children discuss politics and public affairs with classmates and friends in person, via

phone, text, or on social media. These views on politics, candidates, and public policy

are often not shared by other residents or young people in Loudoun County. These

views have prompted vitriolic, threatening, and persecutorial responses from others

in Loudoun County, including within the LCPS community.

      19.    The plaintiffs either currently enroll their children in LCPS, and intend

to reenroll them for next year, or enroll their children elsewhere currently but intend

to enroll them in LCPS next year.

      20.    Defendant Board oversees LCPS, the public school system for Loudoun

County, Virginia.

      21.    At last count, LCPS operates 17 High Schools, 17 Middle Schools, and

51 Elementary Schools, serving approximately 84,000 children and employing

approximately 5,700 teachers.




                                          5
Case 1:21-cv-00669-AJT-TCB Document 1 Filed 06/02/21 Page 6 of 20 PageID# 6




      22.    On June 23, 2020, LCPS published its “Action Plan to Combat Systemic

Racism,” which outlines a complex set of initiatives to implement an ideological

orthodoxy across public schools in Loudoun County.

      23.    The 29 slides in the action plan include numerous proposals, including

to “[p]rohibit the wearing/flying of flags, images, or symbols on LCPS property that

represent racist or hateful ideology,” “[f]inalize the Protocol for Responding to Racial

Slurs and Hate Speech in Schools,” and “consider the potential renaming of the

Loudoun County High School mascot, the Raiders.”

      24.    As Part of LCPS’ Action Plan, it developed a “Student Equity

Ambassador” program. Two to three students from each LCPS high school and middle

school are selected by each school principal for the program.

      25.    Students are selected based on particular criteria, and they serve as a

liaison collaborating with the district-wide Supervisor of Equity during regularly

occurring student “Share, Speak-up, Speak-out meetings.”

      26.    LCPS’ original “Student Equity Ambassador Information Packet”

included a section explaining the “Process for Selecting Student Equity

Ambassadors.”

      27.    The “Process for Selecting Student Equity Ambassadors” included as its

first guideline for selection of SEAs that “[t]his opportunity is open to all Students of

Color.”




                                           6
Case 1:21-cv-00669-AJT-TCB Document 1 Filed 06/02/21 Page 7 of 20 PageID# 7




       28.       Lest there be any ambiguity as to the meaning of that guideline, the

LCPS’ publication included a Frequently Asked Questions (“FAQ”) section. The very

first entry in that FAQ explained directly that the SEA program discriminated on the

basis of race:

       [Question:] My child would like to participate as a Student Equity
       Ambassador and is not a student of color. Can they participate?

       [Answer:] Thank you for your interest but this opportunity is specifically
       for students of Color. However, students at each school have an option
       of creating an affinity group for students of Color who all share a similar
       racial identity and they may also include allies.

       29.       Driving home the point, the second entry in another FAQ suggested

alternatives for those who were racially barred from applying to be SEA:

       [Question:] Are there other opportunities for students to get involved?

       [Answer:] Students may reach out to their school’s activity coordinator
       or the equity lead if they would like to be involved in other equity
       opportunities.

       30.       The flyer accompanying the FAQ document from the district explains

that equity ambassadors must “amplify the voices of students of color” and “represent

your peers of color.”




                                            7
Case 1:21-cv-00669-AJT-TCB Document 1 Filed 06/02/21 Page 8 of 20 PageID# 8




                    Share, s11eak-u11, s11eak-ou1
                 Do you want to be a Voice for Social
                Justice?
    Are you interested in Amplifying the
    Student Voice of Color?
          Do you want to Represent your Pllll 11
          CII■ by sharing their experiences in LCPS?


   You can do all of this by serving as one of our Student Eauitr Ambassadors. See
   XXXX for more information or visit this website for the information packet.

         31.   After LCPS posted this document online, the explicit racial

discrimination in the SEA program was criticized.

         32.   On or about October 28, 2020, LCPS removed the SEA program

description from its website and replaced it with a revised version without any

explanation for the revision.

         33.   The revised version of the SEA program description was almost entirely

identical to the prior version, except that it deleted the admission that the SEA

program was open only to people of color, and the two related FAQ entries quoted

above.

         34.   On November 5, 2020, emails were published between a concerned

parent and an administrator at LCPS. The parent asked about the SEA program, and

whether their child, who is not a student of color, was eligible to apply.




                                           8
Case 1:21-cv-00669-AJT-TCB Document 1 Filed 06/02/21 Page 9 of 20 PageID# 9




       35.    The LCPS administrator responded “[t]hough all students (white or

otherwise) are more than welcome to potentially serve as ambassadors, their focus is

to raise the voice of their classmates of color during these meetings.”

       36.    Though students may report “bias incidents” about gender, gender

identity, religion, or politics, LCPS is clear that the focus of the program, and the

focus of the principals selecting the student ambassadors, is fixed on race: “We are

focusing on race because it is important to recognize students who have been

marginalized.” Apparently LCPS believes the marginalization of other students,

whether because of their religious faith, political beliefs, gender, income, or other

factors, is not worthy of such focus.

       37.    The revised version retains other criteria upon which principals are

supposed to select students, such as “[s]tudents who have a passion for social justice

and are willing to serve.” The flyer inviting students to engage in the program

similarly solicits applicants who “want to be a voice for social justice.” In a

presentation, LCPS’s equity director described the equity ambassadors as part of the

district’s work to “empower students to make meaningful contributions to their world

through a social justice lens.” In a letter to parents from an LCPS high school

announcing the SEA program, the high school’s equity team lists having “a passion

for social justice” as the first quality students “serving in th[e] role” of Student Equity

Ambassador must possess.




                                            9
Case 1:21-cv-00669-AJT-TCB Document 1 Filed 06/02/21 Page 10 of 20 PageID# 10




       38.    The Student Equity Ambassador program is not simply another

extracurricular student club or activity, like the Debate Team, or 4H, or the French

Club. Rather, it is a formal office the school endows with particular authority to speak

on behalf of the student body, and as with any student leadership position, it is a

valuable credential for students looking to improve their resumes.

       39.    The “Share, Speak-up, Speak-out” meetings in which Student Equity

Ambassadors are entitled to take part are not an everyday opportunity for student-

faculty engagement. Rather they are part of an explicit initiative to stifle speech

under the guise of eliminating “bias.”

       40.    To this end, the LCPS Office of Equity distributed to parents and

students a “Share, Speak Up, Speak Out form” to “capture incidents of bias in an

anonymous manner.” The incidents reported on this form are then used in the “Share,

Speak-up, Speak-out” meetings with the Student Equity Ambassadors.

       41.    LCPS will investigate “bias incidents” if the person submitting the form

provides his or her name and indicates on the form that they would like school

administrators to investigate the “particular incident” they are reporting. The slide

deck on the Action Plan to Combat Racism says the “electronic form will be used to

anonymously collect student stories and to ascertain whether or not the student

would like their account of the issue investigated . . . .”




                                            10
Case 1:21-cv-00669-AJT-TCB Document 1 Filed 06/02/21 Page 11 of 20 PageID# 11




      42.    The form includes check boxes for the “Type of Bias Incident” being

reported, including “Harassment or Intimidation,” “Racial Slur,” “Offensive

Language, Teasing or Taunting Language/Verbal Exchange,” “Exclusion or victim of

lack of inclusivity,” “Gender Identity and Expression,” “Ability Status,” “Religious

Practices,” and “Sexual Orientation.”

      43.    One LCPS “equity lead” described the equity ambassadors’ role to a

student newspaper as to “work to identify microaggressions” within their school.

      44.    On May 11, 2021, three student equity ambassadors from Lightridge

High School presented to the LCPS Board. In their slideshow, they said,

“Microaggressions are defined as the everyday, subtle, intentional — and often

unintentional — interactions or behaviors that communicate some sort of bias toward

historically marginalized groups.”

      45.    The presentation continues by citing examples of microaggressions that

are “denial[s] of racial reality” like “I don’t think that white privilege exists.” Another

slide says that to assert a framework of “colorblindness” which sees people as

individuals rather than members of a race is a microaggression.




                                            11
Case 1:21-cv-00669-AJT-TCB Document 1 Filed 06/02/21 Page 12 of 20 PageID# 12




       46.    In a webinar for the Virginia Department of Education, the LCPS equity

director presented a slide that stated, “A bias incident is an act of discrimination,

harassment, [or] intimidation directed against any person or group that appears to

be intentional and motivated by prejudice or bias. Such are usually associated with

negative feelings and beliefs with respect to others [sic] race, ethnicity, national

origin, religion, gender, gender identity, sexual orientation, age, social class, political

affiliation, or disability.”

       47.    Nothing about the bias reporting system limits the covered speech to on-

campus activities. Speech on social media or via text message or even in-person or

telephone conversations outside school but involving students could constitute a “bias

incident.”

       48.    Nothing about the bias reporting system guarantees that those accused

of bias will enjoy any due process rights, a presumption of innocence, a right to

counsel, or any privacy or confidentiality protections.

       49.    LCPS already has in place a robust policy against bullying and cyber-

bullying, LCPS Policy 8250. As part of its Action Plan, LCPS has also adopted a

“LCPS Protocol for Responding to Racial Slurs and Hate Speech in Schools.” LCPS’s

equity office emphasizes in its messages about the bias response system, “Students

should still report discipline incidents to a trusted adult or members of the

administrative team.” Thus, the bias reporting system functions alongside and in

conjunction with the disciplinary system.




                                            12
Case 1:21-cv-00669-AJT-TCB Document 1 Filed 06/02/21 Page 13 of 20 PageID# 13




      50.    In the Virginia Department of Education presentation, the director

described the SEA as “students coming together in this forum.”

      51.    In a letter to parents from an LCPS high school announcing the SEA

program, the high school’s equity team says “[t]he goal is to provide a forum to amplify

the voices of Students of Color and those who have experienced or witnessed

injustices, marginalization, or discrimination.”

      52.    The Plaintiffs’ children would not have qualified for the SEA program

as originally conceived or practically implemented.

      53.    The Plaintiffs’ children hold views about important public issues that

they believe conflict with LCPS’s definition of social justice.

      54.    Plaintiffs are aware that in other school settings nationwide, “bias

incident” response or disciplinary systems have been invoked against students based

on similarly worded standards for wearing clothing supporting President Trump,

saying “Make America Great Again,” or celebrating the Second Amendment.

      55.    Plaintiffs are concerned that if their students share their views about

political or social issues, including those touching on religion, race, and human

sexuality, they will be reported and investigated for “bias incidents.” They fear such

a report, investigation, or public disclosure could negatively impact their standing in

the school community and ruin their children’s college or career prospects.




                                           13
Case 1:21-cv-00669-AJT-TCB Document 1 Filed 06/02/21 Page 14 of 20 PageID# 14




      56.    An LCPS school district spokesperson told a newspaper, “The specific

reason behind this action step is to utilize it as a means to amplify and elevate student

voice.” Yet it will have the opposite effect: rather than amplifying or elevating student

voices, it will chill them by creating a process for anonymously ratting out classmates

for anything anyone finds offensive, with no burdens of proof or due process

protections. It is a heckler’s veto in a kangaroo court.


                                       COUNT I

Defendant’s Student Equity Ambassador Program violates the Fourteenth
Amendment’s guarantee of equal protection because it discriminates on the
basis of race.

      57.    The allegations in the preceding paragraphs are incorporated herein by

reference.

      58.    “When the government distributes burdens or benefits on the basis of

individual racial classifications, that action is reviewed under strict scrutiny.”

Parents Involved in Cty. Schs. v. Seattle Sch. Dist. No. 1, 551 U.S. 701, 719 (2007); see

also Adarand Constructors v. Pena, 515 U.S. 200, 224 (1995) (“[A]ny person, of

whatever race, has the right to demand that any governmental actor subject to the

Constitution justify any racial classification subjecting that person to unequal

treatment under the strictest judicial scrutiny”).

      59.    Even where a policy is formally race-neutral, it can still be shown to be

discriminatory where its historical context, legislative history, and implementation

show it was adopted with a race-discriminatory motive. Vill. of Arlington Heights v.

Metro. Hous. Dev. Corp., 429 U.S. 252, 267 (1977).


                                           14
Case 1:21-cv-00669-AJT-TCB Document 1 Filed 06/02/21 Page 15 of 20 PageID# 15




       60.    Creating new forms of discrimination to remedy old ones is not a solution

to past racism. Rather, the U.S. Supreme Court has said “[t]he way to stop

discrimination on the basis of race is to stop discriminating on the basis of race.”

Parents Involved, 551 U.S. at 748.

       61.    The Board, in making policy for LCPS, is acting under color of state law.

       62.    Plaintiffs’ children are being unlawfully discriminated against on

account of their race.

       63.    Plaintiffs’ children are similarly situated in all relevant aspects to other

parents and children attending LCPS.

       64.    LCPS’ Student Equity Ambassador program is an invidious racial

classification that discriminates against students on the basis of race.

       65.    LCPS has a policy and practice of apportioning the benefits of the

Student Equity Ambassadors program among students on account of their race.

       66.    There is no compelling government interest in LCPS discriminating

among students on account of their race.

       67.    The Student Equity Ambassador program is not narrowly tailored to

serve any government interest, especially when the SEA program is tied to race, but

its bias-investigation mandate includes bias based on gender, gender identity,

sexuality, and political beliefs.

       68.    There is no important government interest in defining the Student

Equity Ambassadors program based on race.




                                           15
Case 1:21-cv-00669-AJT-TCB Document 1 Filed 06/02/21 Page 16 of 20 PageID# 16




      69.    The Student Equity Ambassadors program is not substantially related

to any government interest.

      70.    Plaintiffs are therefore entitled to declaratory and injunctive relief and

nominal damages under 42 U.S.C. § 1983.


                                       COUNT II

Defendant’s Student Equity Ambassador Program violates the First
Amendment’s guarantee of freedom of speech because it discriminates on
the basis of viewpoint.

      71.    The allegations in the preceding paragraphs are incorporated herein by

reference.

      72.    “The First Amendment is a kind of Equal Protection Clause for ideas.”

Barr v. Am. Ass’n of Political Consultants, 140 S. Ct. 2335, 2354 (2020) (plurality)

(quoting Williams-Yulee v. Florida Bar, 575 U.S. 433, 470 (2015) (Scalia, J.,

dissenting)). A government violates this promise of equal treatment for ideas when it

engages in viewpoint discrimination. Rosenberger v. Rector & Visitors of the Univ. of

Va., 515 U.S. 819 (1995).

      73.    The Board, in making policy for LCPS, is acting under color of state law.

      74.    The Student Equity Ambassadors Program and its “Share, Speak Up,

Speak Out” are a nonpublic forum. LCPS officials have described it as a forum.

      75.    LCPS    requires   that    Student   Equity   Ambassadors     express   a

government-approved orthodox viewpoint in order to participate in the program.

      76.    There is no compelling government interest in LCPS discriminating

among students on account of their viewpoint.


                                          16
Case 1:21-cv-00669-AJT-TCB Document 1 Filed 06/02/21 Page 17 of 20 PageID# 17




      77.    The Student Equity Ambassador program’s viewpoint requirement is

not narrowly tailored to serve any government interest.

      78.    There is no important government interest in the Student Equity

Ambassadors program.

      79.    The Student Equity Ambassadors program is not substantially related

to any government interest.

      80.    Plaintiffs are therefore entitled to declaratory and injunctive relief and

nominal damages under 24 U.S.C. § 1983.


                                     COUNT III

Defendant’s bias reporting system violates the First and Fourteenth
Amendments because it chills speech.

      81.    The allegations in the preceding paragraphs are incorporated herein by

reference.

      82.    “The government must abstain from regulating speech when the specific

motivating ideology or the opinion or perspective of the speaker is the rationale for

the restriction.” Rosenberger, 515 U.S. 819 at 829.

      83.    Bias response systems chill speech even where there is no formal

sanction against individual students. See Speech First, Inc. v. Schlissel, 939 F.3d 756,

765 (6th Cir. 2019) (holding that bias reporting systems create “an objective chill

based on the functions of the Response Team”).

      84.    Though the government may legitimately regulate speech that crosses

the line into bullying, especially in the school setting, Davis v. Monroe Cty. Bd. of

Educ., 526 U.S. 629, 650 (1999), the government does not have permission to grant a

                                          17
Case 1:21-cv-00669-AJT-TCB Document 1 Filed 06/02/21 Page 18 of 20 PageID# 18




heckler’s veto to any student who files a report based on a single incident of speech

that the hearer found offensive.

      85.    The Board, in making policy for LCPS, is acting under color of state law.

      86.    LCPS, in defining the scope of “bias incidents,” has created content-

based regulations of speech subject to strict scrutiny, because only speech about

certain matters can possibly be reported as “bias incidents.” The “bias incident”

reporting system also chills speech based on viewpoint knowing that the equity

ambassadors who will judge their peers’ speech must hold certain viewpoints in order

to secure their positions.

      87.    There is no compelling government interest in LCPS’ bias reporting

system.

      88.    The bias reporting system is not narrowly tailored to serve any

government interest.

      89.    There is no important government interest in the bias reporting system.

      90.    The bias reporting system is not substantially related to any

government interest.

      91.    Plaintiff is therefore entitled to declaratory and injunctive relief and

nominal damages under 24 U.S.C. § 1983.




                                         18
Case 1:21-cv-00669-AJT-TCB Document 1 Filed 06/02/21 Page 19 of 20 PageID# 19




                             PRAYER FOR RELIEF

      Plaintiffs respectfully request that this Court:

              a.   Declare that Loudoun County Public School’s Student Equity

      Ambassador program impermissibly discriminates on the basis of race.

              b.   Declare that Loudoun County Public School’s Student Equity

      Ambassador program impermissibly discriminates on the basis of viewpoint.

              c.   Declare that Loudoun County Public School’s bias reporting

      system impermissibly discriminates on the basis of speech content and

      viewpoint.

              d.   Enjoin the Loudoun County School Board from operating the

      Student Equity Ambassador program.

              e.   Enjoin the Loudoun County School Board from operating the bias

      reporting system.

              f.   Award Plaintiffs Nominal Damages.

              g.   Award Plaintiffs their costs and attorney’s fees under 42 U.S.C. §

      1988.

              h.   Award Plaintiffs any other relief to which they may be entitled.

Dated: June 2, 2021

                                               Respectfully Submitted,

                                               /s/ Jeffrey D. Jennings
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                                                Reilly Stephens*
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                                          19
Case 1:21-cv-00669-AJT-TCB Document 1 Filed 06/02/21 Page 20 of 20 PageID# 20




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                                     20
